           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 1 of 29




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

AMERICAN COLLEGE OF EMERGENCY)
PHYSICIANS, INDIVIDUALLY AND   )
ON BEHALF OF ITS MEMBERS, and  )
THE MEDICAL ASSOCIATION OF     )
GEORGIA,                       )
                               )
                Plaintiffs,    ) Civil Action No. 1:18-CV-03414
                               )
vs.                            ) The Honorable Michael L. Brown
                               )
BLUE CROSS BLUE SHIELD OF      )
GEORGIA, INC., BLUE CROSS BLUE )
SHIELD HEALTHCARE PLAN OF      )
GEORGIA, INC., and ANTHEM      )
INSURANCE COMPANIES, INC.,     )
                               )
                Defendants.    )



    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
       TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT




268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 2 of 29




                             PRELIMINARY STATEMENT
           Plaintiffs, the American College of Emergency Physicians (“ACEP”) and

the Medical Association of Georgia (“MAG”) (collectively, “Plaintiffs”), assert a

variety of flawed federal and state claims against Defendants Blue Cross Blue

Shield Healthcare Plan of Georgia, Inc., Blue Cross, Blue Shield of Georgia, Inc.

(collectively “BCBS Georgia”) and Anthem Insurance Companies, Inc. (with

BCBS Georgia, “Defendants”). Despite taking two bites at the apple, Plaintiffs’

allegations still do not, and cannot, assert any actionable claims.

           Plaintiffs’ claims arise from BCBS Georgia’s review of emergency

department (“ED”) claims to determine whether those services constitute an

emergency and are therefore covered under members’ contracts for certain types of

health plans (i.e., the “ED Review”). Plaintiffs assert, without any supporting

allegations or evidence, or even a description of the ED Review, that the ED

Review violates the “prudent layperson standard,” a federal standard used to

determine whether a patient is experiencing an emergency medical condition.

           Notably, in July 2018, after a two day hearing, a Georgia state court denied a

Georgia hospital system’s motion for a preliminary injunction seeking to enjoin the

ED Review. The Court ruled that the plaintiffs failed to meet even a single

element for an injunction and specifically found that the ED Review follows the


                                            -1-
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 3 of 29




prudent layperson standard. See Northeast Georgia Health System, Inc., et al. v.

Blue Cross Blue Shield of Georgia, Inc., et al., 2018 WL 4182090 (Sup. Ct. Fulton

County July 26, 2018). A copy of the opinion is attached as Exhibit A to this

Memorandum. This recent, on-point, decision underscores the futility of the

claims asserted in Plaintiff’s First Amended Complaint (“FAC”).

           Plaintiffs’ amended claims remain unsupportable for the following reasons:

           First, Plaintiffs fail to plead any facts supporting their bare conclusion that

the ED Review violates the prudent layperson standard, thus precluding all of their

claims for relief.

           Second, Plaintiffs have no standing, and fail to assert a valid claim, under

the Employee Retirement Income Security Act (“ERISA”) in Counts One and

Three. Specifically, neither Plaintiffs nor their members have assignments vesting

them with the right to bring the claims asserted in the FAC, Plaintiffs have not

identified a single member who has sustained an injury in fact, and Plaintiffs’

ERISA claims would impermissibly require individualized inquiries that preclude

associational standing. Moreover, Plaintiffs have not, and cannot, identify any

ERISA plans to which the ED Review applies because, as explained in Northeast

Georgia Health System, the ED Review only applies to claims from members with

individual commercial health plans.


                                              -2-
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 4 of 29




           Third, the Emergency Medical Treatment and Active Labor Act

(“EMTALA”) only applies to ED providers, so Plaintiffs cannot state a claim

against Defendants, who are not ED providers, for violating EMTALA. Moreover,

Plaintiff’s contention that the “fear of nonpayment” for claims submitted under the

ED Review may subject their members to EMTALA violations is antithetical to

the purpose of the statute; if Plaintiffs’ members refused to screen any patient for

fear of nonpayment, regardless of insurance, they will be in violation of EMTALA.

           Fourth, Plaintiffs have no private right of action under Georgia’s insurance

laws.

           Fifth, and finally, Plaintiffs cannot seek an injunction without a viable cause

of action.

           Plaintiffs have already had an opportunity to cure their inherently flawed

claims, but their attempt to do so is futile. Accordingly, the FAC should be

dismissed with prejudice.

                               FACTUAL BACKGROUND

I.         THE UNITED STATES’ EMERGENCY DEPARTMENT PROBLEM
           The use of hospital EDs for non-emergency medical conditions has been a

growing problem. Studies show that EDs are treating up to 24 percent of patients




                                             -3-
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 5 of 29




for plainly non-emergency conditions.1 To compound the problem, hospitals have

increased their charges for ED visits by 113 percent in the last seven years, further

increasing costs for private healthcare payers.2 Government sponsored programs

are having the same problem; the Center for Public Integrity estimates that inflated

ED charges in the Medicare program cost taxpayers at least $11 billion over a

decade’s time.3 To address this troubling trend, government and private health

care payers, including BCBS Georgia, have explored initiatives that reduce

unnecessary and excessive ED spending to better control the overall cost of

healthcare in the United States.4

1
  See, e.g., Avoidable Emergency Department Usage Analysis, TRUVEN
HEALTH ANALYTICS, available at http://www.averytelehealth.com/wp-
content/uploads/2018/01/Avoidable-Emergency-Department-Usage-Analysis-
Truven-Health-Analytics.pdf. The Court may take judicial notice of these public
studies and reports on a motion to dismiss. See U.S. ex rel. Osheroff v. Humana
Inc., 776 F.3d 805, 812, n. 4 (11th Cir. 2015) (“Courts may take judicial notice of
documents such as the newspaper articles at issue here for the limited purpose of
determining which statements the documents contain (but not for determining the
truth of those statements).”)
2
 See ER Spending among the Commercially Insured Continued to Rise in 2016,
Driven by the Price and Use of High Severity Cases, HEALTH CARE COST
INSTITUTE, available at http://www.healthcostinstitute.org/healthy-bytes/.
3
 Cracking the Codes: Hospitals Grab at Least $1 Billion in Extra Fees for
Emergency Room Visits, The Center for Public Integrity, available at
https://www.publicintegrity.org/2012/09/20/10811/hospitals-grab-least-1-billion-
extra-fees-emergency-room-visits.
4
 See, e.g., Washington State Medicaid: Implementation and Impact of “ER is for
Emergencies” Program, CENTER FOR HEALTH POLICY AT BROOKINGS,

                                         -4-
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 6 of 29




II.        THE ED REVIEW
           BCBS Georgia is a managed care company that issues and administers

health benefits plans throughout the state of Georgia. FAC, ¶¶ 13-15.5 As a

managed care company, BCBS Georgia has Membership Agreements that specify

the types of services and benefits that will be reimbursed under the member’s plan.

See Northeast Georgia Health System, 2018 WL 4182090, *1.6 These

Membership Agreements generally state, among other things, that non-emergency

care that is provided in the ED is not a covered service. Id., *2-3. For purposes of

determining coverage, the Membership Agreements generally define “Emergency”

or “Emergency Medical Condition” as follows:

           Emergency (Emergency Medical Condition)
           “Emergency” or “Emergency Medical Condition” means a medical or
           behavioral condition of recent onset and sufficient severity, including but not
           limited to, severe pain, that would lead a prudent layperson, possessing an
           average knowledge of medicine and health, to believe that his or her
           condition, sickness, or injury is of such a nature that not getting immediate
           medical care could result in (a) placing the patient’s health or the health of

available at https://www.brookings.edu/wp-
content/uploads/2016/07/050415EmerMedCaseStudyWash.pdf (Washington
implemented an “ER is for Emergencies” program that saved over $34 million
during its first year.
5
  Plaintiffs do not explain Anthem Insurance Companies, Inc.’s business or why
they brought suit against it. See FAC, ¶ 16.
6
 The Court may take judicial notice of and consider state court orders when
evaluating a motion to dismiss. See, e.g., U.S. ex rel. Osheroff v. Humana, Inc.,
776 F.3d 805, 812 (11th Cir. 2015).

                                             -5-
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 7 of 29




           another person in serious danger or, for a pregnant woman, placing the
           woman’s health or the health of her unborn child in serious danger; (b)
           serious impairment to bodily functions; or (c) serious dysfunction of any
           bodily organ or part.

Id. This standard is referred to as the prudent layperson standard because it

evaluates whether an emergency condition exists from the perspective of a prudent

layperson.

           Beginning in July 2017, BCBS Georgia began reviewing certain ED claims

for members with certain types of health plans to determine whether the claims

concerned an emergency and, therefore, were covered services under the

Membership Agreements. See FAC, ¶ 2; Northeast Georgia Health System, 2018

WL 4182090, *3. This ED Review process is detailed in the Northeast Georgia

Health System decision. See id., *3-4, 6 (noting that “BCBS Georgia does not use

diagnosis codes to deny ED claims under the ED Review”). The goal of the ED

Review is to reduce the inappropriate use of EDs for non-emergencies through the

application of the prudent layperson standard.

III.       PLAINTIFFS’ ALLEGATIONS
           ACEP is a trade group that allegedly represents “emergency physicians,

emergency medicine residents and medical students.” FAC, ¶¶ 10, 18. MAG

supposedly “works with physicians, hospitals, insurers and legislators in an effort



                                            -6-
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 8 of 29




to reform our health care system.” Id., ¶¶ 12, 20-22. Plaintiffs purport to “bring

this action on behalf of themselves and their association members.” Id. ¶¶ 1, 4.

           Plaintiffs challenge the ED Review, alleging that it “is contradictory to the

‘prudent layperson’ standard.” FAC, ¶ 4.7 Like Plaintiffs’ original Complaint, the

FAC contains few allegations discussing the substance of the ED Review or how it

is applied. See id. Moreover, despite soliciting patient testimonials on ACEP’s

website, Plaintiffs still do not identify a single claim that has been reviewed and

denied under the ED Review in alleged violation of the prudent layperson standard.

See generally id. In fact, aside from adding a few cryptic allegations about MAG’s

“work” and citing irrelevant data from a political report,8 the FAC’s factual

allegations largely mirror those from the Complaint.



7
  Plaintiffs only appear to be challenging the ED Review as applied in Georgia.
See, e.g., FAC at ¶ 12 (noting that MAG’s work involves “ensuring that Georgians
have access to the care they need”), ¶ 13 (alleging that “Defendants are the plan
administrators, claims administrators, and/or insurers for health plans and
insurance policies covering residents of the State of Georgia . . .”), ¶¶ 122-23
(invoking only Georgia state law) (emphasis added). To the extent that Plaintiffs
are seeking to enjoin the ED Review as applied to any other states, they have failed
to plead facts supporting the Court’s jurisdiction for such an injunction.
8
  The FAC references a July 19, 2018 report from Senator Claire McCaskill. See
FAC, ¶¶ 62-65. The McCaskill report discusses, among other things, changes to
the ED Review process that were implemented in January 2018 and the results of
those changes. See July 19, 2018 McCaskill report, available at
https://www.mccaskill.senate.gov/download/coverage-denied-anthem-report-july-

                                             -7-
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 9 of 29




           Plaintiffs’ FAC asserts counts for (1) violation of the ACA,9 (2) violation of

EMTALA, (3) violation of ERISA,10 (4) violation of state and federal group health

regulations, 45 C.F.R. § 147.138(b) and O.C.G.A. § 33-20A-9, (5) expenses of

litigation under ERISA, 29 U.S.C. § 1132(g)(1), and (6) injunctive relief. Id.,

¶¶ 86-136. The FAC only seeks declaratory and injunctive relief. Id., pp. 45-47.

                                STANDARD OF REVIEW

I.         RULE 12(b)(6)
           To survive a motion to dismiss under Rule 12(b)(6), “a complaint ‘must

contain sufficient factual matter, accepted as true, to state a claim for relief that is

plausible on its face.’” Harris v. Chase Home Fin., LLC, 524 F. App’x 590, 591

(11th Cir. 2013) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A

complaint that merely alleges a “possible” or “conceivable” claim for relief is

insufficient; rather, the pleader must show it is entitled to relief. Iqbal, 556 U.S. at

679-80 (citing, among other things, Fed. R. Civ. P. 8(a)(2)) (internal quotations

omitted). “[C]onclusory allegations, unwarranted deductions of facts or legal

2018. Despite seeking prospective injunctive and declaratory relief, the FAC
ignores the 2018 information and merely cherry picks irrelevant data from 2017.
9
 The ACA violation is brought under ERISA, 29 U.S.C. §§ 1129(a)(3) and 1185d.
See FAC, ¶¶ 91-92.
10
   Despite bringing a claim for benefits under 29 U.S.C. § 1129(a)(1)(B), Plaintiffs’
allegations appear to only be seeking equitable relief under 29 U.S.C. § 1129(a)(3).
Compare FAC, p. 37 with FAC, ¶¶ 110-111; see also Dkt. #18, p. 8.

                                             -8-
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 10 of 29




conclusions masquerading as facts will not prevent dismissal.” Holt v. Crist, 233

F. App’x 900, 902 (11th Cir. 2007)) (citation and internal quotations omitted).

Moreover, “[r]egardless of the alleged facts . . . a court may dismiss a complaint on

a dispositive issue of law.” Clark v. Governor’s Office of Planning & Budget,

2013 WL 4718371, at *3 (N.D. Ga. Sept. 3, 2013).

II.        RULE 12(b)(1)

           When making a facial challenge to jurisdiction on the pleadings under Rule

12(b)(1), the Court applies the same standard of review that is applied under Rule

12(b)(6) to determine whether Plaintiffs have “sufficiently alleged a basis of

subject matter jurisdiction.” Bailey v. Wells Fargo Bank, N.A., 174 F. Supp. 3d

1359, 1361 (N.D. Ga. 2016). Thus, “at the pleading stage, the plaintiff must

‘clearly . . . allege facts demonstrating’” standing. Spokeo, Inc. v. Robins, 136 S.

Ct. 1540, 1547 (2016). “[A] plaintiff must demonstrate standing for each claim he

seeks to press.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006)

                                      ARGUMENT

I.         PLAINTIFFS FAIL TO PLEAD FACTS SHOWING THAT THE ED
           REVIEW VIOLATES THE PRUDENT LAYPERSON STANDARD
           The core premise behind all of Plaintiffs’ claims is that the ED Review

violates the prudent layperson standard. See FAC, ¶ 4 (claiming the ED Review

“is contradictory to the ‘prudent layperson’ standard”), ¶¶ 72, 74 (alleging that the

                                            -9-
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 11 of 29




ED Review violates the ACA and ERISA, respectively, by “failing to properly

implement and/or utilize the prudent layperson standard”), ¶ 73 (asserting that the

ED Review somehow “subjects physicians to violations of EMTALA” because

Defendants are using a standard that differs from the prudent layperson standard).

However, Plaintiffs fail to allege any facts supporting this bare conclusion, nor do

they identify a single instance in which Defendants allegedly violated the prudent

layperson standard. See generally FAC. Instead, Plaintiffs’ allegations primarily

detail their extensive public relations campaign against the ED Review without

discussing its substance. See generally FAC, ¶¶ 17-65; see also supra n. 8. When

Plaintiffs do describe the ED Review, they allege that BCBS Georgia filters a

“minority of [ED] claims” through an “always pay” exception list, “and if [those

claims] don’t meet any of those exceptions, an Anthem medical director will

review the claim information using the prudent layperson standard . . .” FAC, ¶

50 (emphasis added); see also id., ¶ 48 (noting that BCBS Georgia requests

“medical records from the treating provider each time as part of the claim review

process”). None of these facts show, or even suggest, that the ED Review violates

the prudent layperson standard. Nor do they indicate that a Georgia court, which

conducted an evidentiary hearing and found that “the unrebutted evidence showed

that BCBS Georgia employs a three-step process that concludes with an


                                         - 10 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 12 of 29




evaluation under the Prudent Layperson Standard,” was somehow incorrect. See

Northeast Georgia Health System, 2018 WL 4182090, at *6 (emphasis added).

           Plaintiffs’ failure to plead any facts showing that the ED Review violates the

prudent layperson standard dooms all of its claims. Iqbal, 556 U.S. at 678-80;

Holt, 233 F. App’x at 902.

II.        PLAINTIFFS HAVE NO STANDING, AND FAIL TO STATE A
           CLAIM, UNDER ERISA (COUNTS ONE, THREE, AND FIVE)
           In Counts One and Three, Plaintiffs appear to be seeking enforcement of the

ACA and other unspecified “state and federal law” through Section 502(a)(3) of

ERISA. See FAC, ¶¶ 93-98, 114-17. Plaintiffs cannot, however, state a claim

under ERISA because (1) neither Plaintiffs, nor their members, have the right to

bring a claim for equitable relief under ERISA, and (2) Plaintiffs do not, and

cannot, allege facts indicating that the ED Review implicates ERISA health plans.

           A.    Plaintiffs Have No Right to Bring ERISA Claims.
           Section 502(a)(3) permits only “a participant, beneficiary, or fiduciary” to

seek equitable relief under ERISA. 29 U.S.C. § 1132(a)(3). Thus, “‘[h]ealthcare

providers may have [rights] under ERISA only when they derivatively assert rights

of their patients as beneficiaries of an ERISA plan,’ which requires the provider to

‘have obtained a written assignment of claims from a patient with [the right] to sue



                                            - 11 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 13 of 29




under ERISA.’” Apollo MD Bus. Servs., L.L.C. v. Amerigroup Corp., No. 1:16-cv-

4814, 2017 WL 10185527, at *11 (N.D. Ga. Nov. 27, 2017) (citation omitted).

           Plaintiffs do not allege that they have the right to sue Defendants under

ERISA. Instead, they claim that their members do by way of alleged assignments

from patients. See FAC, ¶¶ 94-96, 114-116.11 Though a plaintiff typically “must

assert his own legal rights and interests, and cannot rest his claim to relief on the

legal rights or interests of third parties,” In re Checking Account Overdraft Litig.,

780 F.3d 1031, 1038 (11th Cir. 2015) (citation omitted), associations may, in

limited circumstances, assert standing on behalf of their members. To demonstrate

associational standing, Plaintiffs must allege that “[1] its members would otherwise

have standing to sue in their own right, [2] the interests at stake are germane to the

organization’s purpose, and [3] neither the claim asserted nor the relief requested

requires the participation of individual members in the lawsuit.” Georgia

Republican Party v. S.E.C., 888 F.3d 1198, 1201 (11th Cir. 2018). Though

Plaintiffs bear the burden of establishing standing, id., they have not alleged and

cannot meet the first and third elements.




11
   Notably, MAG claims it “works with physicians, hospitals, insurers, and
legislators in an effort to reform our health care system,” but fails to disclose who
its members are. See id., ¶ 12 (emphasis added); see also id., ¶¶ 20-22.

                                            - 12 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 14 of 29




                 1.    The Supposed Assignments Granted to Plaintiffs’ Members
                       Do Not Confer the Right to Pursue the Claims Asserted in
                       the FAC.
           In the Eleventh Circuit, “[a]ssignment agreements are generally interpreted

narrowly,” and “the scope of an assignment cannot exceed the terms of the

assignment agreement itself.” Sanctuary Surgical Ctr., Inc. v. Aetna, Inc., 546 F.

App’x 846, 851-52 (11th Cir. 2013). For this reason, the Eleventh Circuit has

repeatedly held that a mere assignment of benefits is insufficient to confer the right

to bring equitable claims under ERISA. Id. at 852 (“The plaintiffs’ contention

stretches beyond its breaking point the plain meaning of the agreement, which

assigns only the right to receive benefits and not the right to assert claims for

breach of fiduciary duty or civil penalties. Because the agreements do not support

plaintiffs’ position, they lack [the right] to bring claims under § 502(a)(3) and §

502(c).”); Griffin v. Lockheed Martin Corp., 647 F. App’x 920, 924 (11th Cir.

2016) (finding that a provider with an assignment of benefits from a patient could

not bring ERISA claims because “[n]othing in the assignment transferred the

patient’s right to bring a cause of action for breach of fiduciary duty or seek

equitable relief to redress a practice that violates ERISA or the terms of the Plan.”);

cf. Griffin v. SunTrust Bank, Inc., 157 F. Supp. 3d 1294, 1299-300 (N.D. Ga. 2015)

(“[U]nder a narrow reading, the assignment of mere ‘benefits’ under the Plan does


                                           - 13 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 15 of 29




not provide Plaintiff with the right to bring . . . [a] claim for civil penalties under

ERISA”).

           Here, Plaintiffs’ members only purportedly received an “assignment of

benefits” that “authorize[s] Plaintiffs’ members to bill for any services provided to

Defendants’ insureds, to obtain payment for benefits billed for on the insureds’

behalf, and to appeal any benefit denials.” FAC, ¶¶ 95, 115. Nothing in these

supposed assignments assigned the patients’ right to bring equitable claims under

ERISA for the failure to apply the prudent layperson standard when evaluating

claims for ED services. Id. Accordingly, Plaintiffs’ members, and Plaintiffs, do

not have the right to assert claims for violation of the ACA or ERISA through 29

U.S.C. § 1132(a)(3). Sanctuary Surgical Ctr., 546 F. App’x at 851-52; Lockheed

Martin, 647 F. App’x at 924; SunTrust Bank, 157 F. Supp. 3d at 1299-300.

                 2.     Plaintiffs Also Fail to Allege That Any of Its Members
                        Sustained an Injury in Fact.
           In addition to Plaintiffs’ failure to meet ERISA’s statutory requirements,

Plaintiffs fail to explain how any of their members have been harmed as a result of

the ED Review. To have associational standing, Plaintiffs “must make specific

allegations establishing that at least one identified member ha[s] suffered or [will]

suffer harm.” Georgia Republican Party, 888 F.3d at 1203 (dismissing claim for

lack of standing, and holding, “the Georgia Party has failed to allege a specific

                                            - 14 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 16 of 29




member will be injured by the rule [that the party was contesting] . . .”); see also

Nat’l Ass’n of Home Builders v. E.P.A., 667 F.3d 6, 12-15 (D.C. Cir. 2011)

(dismissing association’s claim under Rule 12(b)(1) for failing to sufficiently

allege an injury to any of its members). Plaintiffs cannot rely on the likelihood or

statistical probability that one of its members was injured; they must identify at

least one member who has been or will be imminently injured. Summers v. Earth

Island Inst., 555 U.S. 488, 497-498 (2009).

           Here, Plaintiffs merely allege, in conclusory fashion, that “Plaintiffs, vis-à-

vis their members, have been harmed by retrospective denials of payment by

Defendants as such payments are rightfully owed.” FAC, ¶ 68; see id., ¶ 98

(claiming, without any supporting facts, that Defendants are “denying payment for

services which were rendered, even though such payment is rightfully owed”),

¶ 117 (alleging that the ED Review “has resulted and will continue to result in a

plethora of denied emergency department claims” without providing any

examples). These unsupported conclusions do not “clearly . . . allege facts

demonstrating” that any one of their members have standing. See Spokeo, 136 S.

Ct. at 1547 (citation and internal quotations omitted); Iqbal, 556 U.S. at 678-79

(“Rule 8 . . . does not unlock the doors of discovery for a plaintiff armed with

nothing more than conclusions.”). Absent a sufficiently alleged injury in fact to at


                                             - 15 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 17 of 29




least one of their members, Plaintiffs cannot assert associational standing. Georgia

Republican Party, 888 F.3d at 1203; Nat’l Ass’n of Home Builders, 667 F.3d at 13.

                 3.    Resolution of Plaintiffs’ ERISA Claims Would
                       Impermissibly Require Individualized Inquiries.
           Plaintiffs’ ERISA claims also require individualized determinations that are

incompatible with associational standing. “[A]ssociational standing give[s] way

when discrete, individualized inquiries are necessitated” to resolve the plaintiffs’

claims. Rivell v. Private Health Care Sys., Inc., 887 F. Supp. 2d 1277, 1289 (S.D.

Ga. 2012) (dismissing MAG’s claims for misappropriation of likeness because

MAG would need to establish that the appropriation in each individual case

occurred without consent); accord Warth v. Seldin, 422 U.S. 490, 515-18 (1975)

(finding no associational standing for injuries to members because “the damages

claims are not common to the entire membership. . . each member of [the plaintiff

association] who claims injury . . . [must] be a party to the suit, and [the

association] has no standing to claim damages on his behalf.”). Though “claims

seeking a declaration, injunction, or some other form of prospective relief, as is the

case here, typically qualify for associational standing,” “where the plaintiff’s

claims ‘require a fact-intensive-individualized inquiry,’” associational standing is

inappropriate. Rivell, 887 F. Supp. 2d at 1289 (dismissing MAG’s claims for

declaratory and injunctive claims because of individualized inquiries).

                                           - 16 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 18 of 29




           Even though Plaintiffs now only seek injunctive relief, this Court must

undergo a number of individualized inquiries that make associational standing

inappropriate. For example, to adjudicate any claim under ERISA, the Court will

need to assess, on an individualized basis, (i) whether the plan at issue is one

governed by ERISA, see infra pp. 18-19; (ii) whether the plan contains an anti-

assignment provision, see Physicians Multispecialty Group v. Health Care Plan of

Horton Homes, Inc., 371 F.3d 1291, 1295 (“[A]n assignment is ineffectual if the

[ERISA] plan contains an unambiguous anti-assignment provision”); (iii) whether

the participant or beneficiary exhausted his or her administrative remedies, Buckley

v. Caremark RX, Inc., 461 F.3d 1325, 1328 (11th Cir. 2006) (dismissing a Section

502(a)(3) claim, among others, and holding, “The law is clear that plaintiffs in

ERISA actions must exhaust available administrative remedies before suing in

federal court. This exhaustion requirement applies equally to claims for benefits

and claims for violation of ERISA itself.”); and (iv) whether BCBS Georgia’s

denial of the beneficiary’s claim constituted a violation of ERISA or the ACA, cf.,

e.g., 42 U.S.C. § 18011; 45 C.F.R. § 147.140 (if the ERISA plan is a grandfathered

plan, it need not follow certain requirements under the ACA, including 42 U.S.C.

§ 300gg-19a); among other things. For this additional reason, Plaintiffs cannot




                                           - 17 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 19 of 29




assert associational standing to bring claims under ERISA. See Rivell, 887 F.

Supp. 2d at 1289.

           B.    Plaintiffs Cannot Allege That the ED Review Implicates ERISA
                 Plans.
           “ERISA governs only ‘employee benefit plans.’” Gilliland v. Air Line Pilots

Ass’n Intern., 741 F. Supp. 2d 1334, 1344 (N.D. Ga. 2009) (citation omitted).

Thus, to state a claim under ERISA, a plaintiff is required to demonstrate that its

claims arise under an ERISA benefit plan. “Section 502(a)(3) ‘does not, after all,

authorize equitable relief’ at large, but only ‘appropriate equitable relief’ for the

purpose of ‘redress[ing any] violations or . . . enforc[ing] any provisions’ of

ERISA or an ERISA plan.’” Peacock v. Thomas, 516 U.S. 349, 353 (1996)

(dismissing a claim under Section 502(a)(3) of ERISA where the alleged

“wrongdoing ‘did not occur with respect to the administration or operation of’” an

ERISA plan) (citation omitted) (emphasis in original); see Cataldo v. U.S. Steel

Corp., 676 F.3d 542, 556-57 (6th Cir. 2012) (quoting the same, and dismissing

complaint under Rule 12(b)(6) because, among other things, plaintiffs failed to

“establish that at least one defendant breached the plan documents or violated

ERISA in some other way”); cf. Moon v. BMX Techs., Inc., 577 F. App’x 224, 228-

29 (4th Cir. 2014) (quoting the same, and dismissing complaint that failed to allege

facts demonstrating that the defendant was an ERISA fiduciary). In addition, 29

                                          - 18 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 20 of 29




U.S.C. § 1185d – under which Plaintiffs purportedly bring their ACA claim – only

applies to ERISA “group health plans.” FAC, ¶ 92 (citing 29 U.S.C. 1185d(a)(1)).

           As explained in Northeast Georgia Health System, “BCBS Georgia only

uses the ED Review for claims that were submitted on behalf of members with

BCBS Georgia individual commercial health plans.” 2018 WL 4182090, at *4.

Thus, Plaintiffs have not, and cannot, allege facts showing that the ED Review has

been applied to ERISA group plans. Because the ED Review does not implicate

ERISA, Plaintiffs cannot state a claim for an ERISA violation. See Peacock, 516

U.S. at 353; Cataldo v. U.S. Steel Corp., 676 F.3d at 556-57; Moon v. BMX Techs.,

Inc., 577 F. App’x at 228-29.12

III.       PLAINTIFFS HAVE NO CAUSE OF ACTION UNDER EMTALA
           (COUNT TWO)
           “Congress enacted EMTALA . . . to remedy the narrow problem of

emergency rooms turning away indigent patients.” Apollo MD, 2017 WL

10185527, at *12 (citation and internal quotation omitted). The statute requires

healthcare providers in EDs to (1) perform a medical screening, and (2) if the

screening reveals an emergency medical condition, provide treatment to stabilize

12
   Because Plaintiffs fail to state a claim under ERISA, they cannot recover
attorney’s fees or costs under ERISA in Count Five. See Ruckelshaus v. Sierra
Club, 463 U.S. 680, 694 (1983) (“[A]bsent some degree of success on the merits
by the claimant, it is not ‘appropriate’ for a federal court to award attorney’s fees
under” ERISA).

                                         - 19 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 21 of 29




the condition. See 42 U.S.C. § 1395dd(a), (b). EMTALA may be enforced against

ED providers through either (1) civil money penalties that are imposed by the

Centers for Medicare and Medicaid Services (“CMS”), or (2) “a civil action

against the participating hospital.” 42 U.S.C. § 1395dd(d)(1), (2). “[O]nly

hospitals are amenable to suit under [EMTALA] . . . There is no evidence that

Congress intended for EMTALA to apply to issues arising from insurers’

reimbursement of care administered pursuant to the statute’s requirements.”

Apollo MD, 2017 WL 10185527, at *12 (dismissing EMTALA claim against a

health plan); see Dearmas v. Av-Med, Inc., 814 F.Supp. 1103, 1108-09 (S.D. Fla.

1993) (dismissing EMTALA claims because “the plain wording of § 1395dd”

indicates that an HMO could not be sued under EMTALA); Bourbon Cmty. Hosp.,

LLC v. Coventry Health & Life Ins. Co., No. 3:15-cv-00455, 2016 WL 51269, at

*6 (W.D. Ky. Jan. 4, 2016) (dismissing EMTALA claim because “EMTALA does

not apply to MCOs”).

           In spite of the plain language of the statute and well established case law,

Plaintiffs’ FAC asserts an EMTALA claim against BCBS Georgia, a health plan,

and Anthem Insurance Companies – none of whom are healthcare providers. See

FAC, ¶¶ 14-16, 101-108. Nevertheless, Plaintiffs claim that the ED Review “is

unlawful . . . because it subjects hospitals and physicians to” potential “[l]iabilty


                                            - 20 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 22 of 29




under 42 U.S.C. § 1395dd(d)(1).” FAC, ¶¶ 102, 104. Plaintiffs recognize that

EMTALA “prohibits hospitals and physicians who practice in Medicare-

participating hospitals from refusing to treat people based on their insurance

status or ability to pay,” but also suggest that ED providers may eschew their

federally-mandated obligations and “refuse to screen the patient for fear of

nonpayment under the ED [Review].” Compare, e.g., FAC, ¶ 102 with FAC, ¶

106 (emphasis added). On its face, this claim is completely illogical; if Plaintiffs’

members refuse to treat any patient “for fear of nonpayment,” then they are

choosing to engage in conduct EMTALA was enacted to prevent.

           Regardless, Plaintiffs cannot bring a claim against Defendants, or any

defendant, for violating 42 U.S.C. § 1395dd(d)(1) because that provision is only

enforceable by CMS. Holcomb v. Monahan, 807 F. Supp. 1526, 1530 (M.D. Ala.

1992) (dismissing an EMTALA claim under 42 U.S.C. § 1395dd(d)(1)(A), and

holding, “Section 1395dd(d)(1)(A) is a civil penalty provision to be enforced by

the United States government or one of its agencies, not by a private plaintiff.”).

Because EMTALA does not apply to Defendants, Count Two should be dismissed.

Id.; Apollo MD, 2017 WL 10185527, at *12; Dearmas, 814 F.Supp. at 1108-09;

Bourbon Cmty. Hosp., 2016 WL 51269, at *6.




                                           - 21 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 23 of 29




IV.        PLAINTIFFS HAVE NO PRIVATE RIGHT OF ACTION UNDER
           THE GEORGIA INSURANCE LAWS (COUNT FOUR)
           Plaintiffs assert that BCBS Georgia violated O.C.G.A. § 33-20A-9 and § 33-

20A-3, which are Georgia’s implementation of the prudent layperson standard.

This claim fails because this statute does not expressly or impliedly authorize a

private right of action.13

           A private right of action exists under Georgia law only where the “statutory

text [] expressly provide[s] a private cause of action.’” Walker v. Oglethorpe

Power Corp., 341 Ga. App. 647, 657 (2017). “Even when the private right of

action is alleged to be implied by the statute, the indication . . . must be found in

the provisions of the statute at issue, not extrapolated from the public policy the

statute generally appears to advance.” Id. (emphasis in original). “In the absence

of such textual support, a cause of action does not exist and courts may not create


13
   Plaintiffs’ FAC does not appear to assert an independent claim under the ACA,
or its implementing regulations, but instead, alleges that it can seek redress for
ACA violations through ERISA. See FAC, ¶¶ 92-96; Dkt. #18 at pp. 12-13. To
the extent that Plaintiffs still maintain that they can separately sue under the ACA,
such claims would be barred because the ACA does not have a private right of
action. See, e.g., Ass’n of New Jersey v. Horizon Healthcare Servs., Inc., No. CV
16-08400(FLW), 2017 WL 2560350, at *3-5 (D.N.J. June 13, 2017) (no private
right of action under 42 U.S.C. § 300gg-5); Mills v. Bluecross Blueshield of Tenn.,
Inc., 2017 WL 78488, at *6 (E.D. Tenn. Jan. 9, 2017) (no implied private right of
action under 42 U.S.C. § 300gg-22); Dominion Pathology Labs., P.C. v. Anthem
Health Plans of Va., Inc., 111 F. Supp. 3d 731, 736 (E.D. Va. 2015) (no implied
private right of action under 42 U.S.C. § 300gg-5).

                                           - 22 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 24 of 29




one, no matter how desirable that might be as a policy matter, or how compatible

with the statute.” Id.

           Georgia appellate courts have analyzed other provisions of the insurance

laws codified in Title 33 of the Georgia Code, and determined that it does not

provide an express or implied private right of action. See State Farm Mut. Auto.

Ins. Co. v. Hernandez Auto Painting & Body Works, Inc., 312 Ga. App. 756, 761

(2011) (finding no private cause of action under Title 33); Cross v. Tokio Marine

& Fire Ins. Co., 254 Ga. App. 739, 741(1)(2002) (holding that O.C.G.A. § 33–3–

28(d) did not create a private right of action against an insurer). The same result

should inure here.

           First, the statutory text of O.C.G.A. § 33-20A-9 does not reflect any

legislative intent to create a private right of action. “Statutes that focus on the

person regulated rather than the individuals protected create no implication of an

intent to” create a private right of action. Alexander v. Sandoval, 532 U.S. 275,

289 (2001). O.C.G.A. § 33-20A-9 focuses on the regulated entity (i.e., the

managed care organizations) rather than the protection of any particular individual,

stating that “every managed care plan shall include . . .” O.C.G.A. § 33-20A-9.

Because of this focus, there is no legislative intent to create a private right of

action. See Martes v. C.E.O. of S. Broward Hosp. Dist., 683 F.3d 1323, 1328 (11th


                                            - 23 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 25 of 29




Cir. 2012) (no private right where statute focuses on the billing practices of

medical providers rather than the individual patients); cf. Walker, 341 Ga. App. at

656 (finding no private cause of action “even if the statute imposed the duties on

[the defendants] that the [plaintiffs] allege”).

           Plaintiffs argue that there is a private right of action because the chapter they

are suing under (Chapter 20A of Tittle 33) is titled the “Patient Protection Act;”

however, this reasoning was rejected by State Farm and Walker, which both held

that a private right of action cannot be inferred “from the public policy the statute

appears to promote” but only from the actual textual provisions. State Farm, 312

Ga. App. at 761; accord Walker, 341 Ga. App. at 657. Indeed, even though the

federal analogue to this statute it titled the “Patient Protection and Affordable Care

Act,” numerous federal courts have held that there is no private right of action

under the statute. See supra n. 13.

           Second, O.C.G.A. § 33-20A-9 is enforced by Georgia’s Insurance

Commissioner, see O.C.G.A. § 33-2-2, which precludes a private right of action.

See Hernandez Auto Painting, 312 Ga. App. at 761 (noting that “the General

Assembly provided the Insurance Commissioner with the authority to enforce the

provisions of Title 33” when finding no private cause of action); Cross v. Tokio

Marine & Fire Ins. Co., 254 Ga. App. 739, 741 (2002) (finding that O.C.G.A §


                                             - 24 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 26 of 29




33–3–28(d) did not create a private right of action because he “failure to comply

with the statute comes within the conduct subject to sanctions by the Insurance

Commissioner as the exclusive regulatory remedy.”). For these reasons, Plaintiffs

cannot bring a private cause of action under O.C.G.A. §§ 33-20A-3 and 33-20A-9.

V.         PLAINTIFFS CANNOT SEEK INJUNCTIVE RELIEF WITHOUT AN
           UNDERLYING CAUSE OF ACTION (COUNT SIX).
           Plaintiffs’ sole remaining “count” for injunctive relief also fails because

Plaintiffs have no independent cause of action supporting it. “[A]ny motion or suit

for either a preliminary or permanent injunction must be based upon a cause of

action . . . There is no such thing as a suit for a traditional injunction in the

abstract.” Alabama v. U.S. Army Corps of Engineers, 424 F.3d 1117, 1127 (11th

Cir. 2005). As established above, Plaintiffs have failed to state a claim for a cause

of action through which they may seek injunctive relief. Accordingly, Plaintiffs’

“count” for injunctive relief should be dismissed.

                                      CONCLUSION

           For the foregoing reasons, Defendants respectfully request that this Court

dismiss Plaintiffs’ FAC with prejudice, and for any further relief that this Court

deems proper and just.




                                             - 25 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 27 of 29




           Respectfully submitted this 2nd day of November, 2018.

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                                          - 26 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 28 of 29




              CERTIFICATE OF COUNSEL REGARDING FONT SIZE
           Counsel certifies that the foregoing has been prepared using Times New

Roman font size 14 in accordance with Local Rules 5.1(B)(3) and 7.1(D).

           This the 2nd day of November, 2018.



                                                  /s/ James L. Hollis
                                                  James L. Hollis




                                         - 27 -
268335.1
           Case 1:18-cv-03414-MLB Document 19-1 Filed 11/02/18 Page 29 of 29




                             CERTIFICATE OF SERVICE

           I hereby certify that on this the 2nd day of November, 2018 I electronically

filed the foregoing with the Clerk of the Court using the CM/ECF system which

will automatically send an e-mail notification of such filing to the following

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                                           - 28 -
268335.1
